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Attorneys for Petitioner

                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MONTANA


 CHRISTOPHER MARTINEZ MARVAN,

                                     Petitioner,

                       v.
                                                   Civil Action No. _________________
 JOHN DOE, Helena Field Office Director,
 United States Immigration and Customs                    PETITION FOR WRIT OF
 Enforcement; BRUCE SCOTT, Warden,                           HABEAS CORPUS
 Northwest Immigration and Customs
 Enforcement Processing Center; DREW
 BOSTOCK, Seattle Field Office Director,
 Enforcement and Removal Operations, United
 States Immigration and Customs
 Enforcement; TODD M. LYONS, Acting
 Director, United States Immigration and
 Customs Enforcement; KRISTI NOEM,
 Secretary, United States Department of
 Homeland Security; PAMELA BONDI,
 Attorney General of the United States, in their
 official capacities,

                                  Respondents.
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                        PETITION FOR A WRIT OF HABEAS CORPUS
                              PURSUANT TO 28 U.S.C. § 2241

       1.        Christopher Martinez Marvan is a Mexican citizen and national who resides in

Helena, Montana. Christopher entered the United States with his parents in 2008, as a minor. His

family lived in Helena, where he remained until 2014. In 2014, he and his wife, a U.S. Citizen,

moved to Mexico. They subsequently returned to Helena and live here with their children, also

U.S. Citizens.

       2.        On July 1, 2025, Christopher was stopped by the Helena Police Department while

driving to pick up his daughter from her grandparents’ home. An officer informed Christopher that

he was stopped because he fit the description of two other individuals that the officer was looking

for. The Helena Police Department office did not issue Christopher a traffic citation.

       3.        Subsequently, unidentified individuals arrived in an unmarked van, removed

Christopher from the custody of the Helena Police Department, and detained him. On information

and belief, these individuals are Immigration and Customers Enforcement officers (hereinafter

“ICE”).

       4.        On information and belief, ICE detained Christopher at the Lewis and Clark County

Jail (“the Jail”) at 221 Breckenridge Ave. in Helena, Montana, until about 5 p.m. on Tuesday,

July 1, 2025.

       5.        On information and belief, Christopher has been physically removed by ICE from

the Jail and is currently being transported to an ICE detention center.

       6.        On information and belief, Christopher is being transported by car through the state

of Montana.

       7.        Christopher challenges his detention as an unreasonable seizure under the Fourth

Amendment.



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        8.      Christopher respectfully requests that this Court grant him a Writ of Habeas Corpus

and order Respondents to immediately release him from custody. Christopher seeks habeas relief

under 28 U.S.C. § 2241, which is the proper vehicle for challenging civil immigration detention.

See Flores-Torres v. Mukasey, 548 F.3d 708, 711 (9th Cir. 2008) (finding habeas is appropriate

vehicle for challenge to detention in the absence of a final order of removal).

        9.      Christopher also respectfully requests that this Court enter an order preventing his

removal from Montana while his petition is considered, to preserve this Court’s jurisdiction over

his habeas claims.

        10.     Finally, Christopher respectfully requests that the Court allow expedited discovery

of the bases asserted for his stop by the Helena Police Department and for his detention by ICE, in

support of this petition.

                                            CUSTODY

        11.     Christopher is in the physical custody of Respondents. Christopher is currently

detained and in transit in the state of Montana. He is under the direct control of Respondents and

their agents.

                                         JURISDICTION

        12.     This Court has jurisdiction to hear this habeas petition under 28 U.S.C § 1331,

28 U.S.C. § 2241, and the Fourth Amendment, U.S. Const. amend. IV.

                                             VENUE

        13.     Venue is proper in this district under 28 U.S.C. § 1391 and 28 U.S.C. § 2242

because at least one Respondent is in this District, Christopher is detained in this District,

Christopher’s immediate physical custodian is located in this District, and a substantial part of the

events giving rise to the claims in this action occurred in this District. See generally Rumsfeld v.




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Padilla, 542 U.S. 426, 434 (2004) (“for core habeas petitions challenging present physical

confinement, jurisdiction lies in . . . the district of confinement”).

                             REQUIREMENTS OF 28 U.S.C. § 2243

        14.     The Court must grant the petition for writ of habeas corpus or order Respondents

to show cause “forthwith,” unless the petitioner is not entitled to relief. 28 U.S.C. § 2243. If an

order to show cause is issued, the Respondents must file a return “within three days unless for

good cause additional time, not exceeding twenty days, is allowed.” Id.

        15.     Habeas corpus is “perhaps the most important writ known to the constitutional law

. . . affording as it does a swift and imperative remedy in all cases of illegal restraint or

confinement.” Fay v. Noia, 372 U.S. 391, 400 (1963) (emphasis added).

                                              PARTIES

        16.     On information and belief, Christopher is currently in the custody of Respondents

John Doe and is currently in transit in Montana en route to a federal detention center. He has been

in ICE Custody since on or about July 1, 2025, when he was detained in Helena, Montana, by the

Helena Police Department and ICE.

        17.     Respondent John Doe is the Director of the Helena ICE Field Office with physical

and administrative custody over Christopher and is named in his official capacity.

        18.     Respondent Bruce Scott is the Warden of the Northwest Immigration and Customs

Enforcement Processing Center. He is a legal custodian of Christopher and is named in his official

capacity.

        19.     Respondent Drew Bostock is the Field Office Director responsible for the Seattle

ICE Field Office with administrative jurisdiction over Christopher. He is a legal custodian of

Christopher and is named in his official capacity.




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       20.     Respondent Todd M. Lyons is the Acting Director of ICE. He is a legal custodian

of Christopher and is named in his official capacity.

       21.     Respondent Kristi Noem is the Secretary of DHS. She is a legal custodian of

Christopher and is named in her official capacity.

       22.     Respondent Pamela Jo Bondi is the Attorney General of the United States

Department of Justice. She is a legal custodian of Christopher and is named in her official capacity.

                                    STATEMENT OF FACTS

       23.     Christopher is a thirty-one year old citizen and national of Mexico. He came to the

United States as a child, with his parents, in 2008 and settled in Helena, Montana. While in school,

Christopher met Maria Pacheco, a United States citizen, who he later married and has children

with. Christopher’s and Maria’s children are also United States citizens. In 2014, Christopher and

Maria left the United States and moved to Mexico.

       24.     Several years later, Christopher and Maria moved their family back to Helena.

       25.     On July 1, 2025, Christopher was stopped by the Helena Police Department while

driving to pick up his daughter from her grandparents’ home. An officer informed Christopher that

he was stopped because he fit the description of two other individuals that the officer was looking

for. The Helena Police Department office did not issue Christopher a traffic citation resulting from

the stop.

       26.     Subsequently, unidentified individuals arrived in an unmarked van, removed

Christopher from the custody of the Helena Police Department, and detained him. On information

and belief, these individuals are Immigration and Customers Enforcement officers (hereinafter

“ICE”).




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       27.     Christopher was booked into the Lewis and Clark County Jail on or around 1:52

p.m. on July 1, 2025.

       28.     On information and belief, Christopher was physically removed by ICE from the

Jail on or around 5:00 p.m. on July 1, 2025 and is currently being transported by vehicle to an ICE

detention center.

       29.     At the time that ICE removed Christopher from the Jail, attorneys Andres Haladay

and Lydia Dal Nogare were present and had requested to meet with Christopher to arrange

representation. Christopher’s wife Maria requested that Haladay and Dal Nogare represent

Christopher.

       30.     Haladay and Dal Nogare explained to officials at the Jail that they intended to meet

with him regarding his incarceration and to arrange representation. They communicated that

Christopher’s wife had authorized them to contact Christopher as his attorneys. Initially, a front

desk attendant confirmed to Dal Nogare that Christopher was being detained in the Jail.

       31.     Officer M. Secrease then represented to Haladay and Dal Nogare that Christopher

was “not in their custody” and therefore they could not facilitate an attorney-client meeting with

him. Officer Secrease gave Haladay and Dal Nogare a phone number with a 509 area code to

contact a federal agency regarding Christopher’s custody.

       32.     An observer witnessed a van with Washington license plates enter the Jail.

       33.     While the van was inside the facility, Haladay and Dal Nogare filed an emergency

petition for mandamus at 5:04 pm, requesting that the First Judicial District Court order the County

Attorney to allow them to meet with Christopher without delay.

       34.     The van was then observed exiting the Jail.




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       35.     The detention lieutenant, Troy Christensen, approached Haladay and Dal Nogare

outside of the Jail and informed them that Christopher was no longer in their custody. He stated

that he had intentionally prevented Haladay and Dal Nogare from meeting with Christopher. He

stated that he had contacted ICE about how to respond to the request and that ICE instructed him

not to allow Haladay and Dal Nogare to meet with Christopher.

                                     LEGAL FRAMEWORK

       36.     On information and belief, Christopher was detained by the Helena Police

Department and turned over to ICE based on his race and ethnicity in violation of the Fourth

Amendment to the U.S. Constitution.

       37.     Specifically, Christopher was informed after being stopped by a Helena Police

Officer that he was being detained because he met the description of two other individuals that the

police officer was looking for and was subsequently turned over to ICE agents, who arrived on the

scene in an unmarked vehicle and took custody of Christopher.

       38.     The Fourth Amendment prohibits detaining an individual absent reasonable

suspicion that they committed a crime, or in the immigration context that they are present in the

United States unlawfully.

       39.     On information and belief, Helena PD did not have a reasonable suspicion that

Christopher was in the country unlawfully when they pulled him over, and subsequently detained

him solely on the basis of his race and ethnicity. Upon information and belief, the Helena PD did

not have probable cause to believe he was likely to escape before a warrant could be obtained for

his arrest, in the event that officers later determined that he was in the United States unlawfully.




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       40.     Any information Helena PD obtained about Christopher’s immigration status

during the stop was information that the officers would not have otherwise obtained without

improperly profiling Christopher on the basis of his race and ethnicity.

       41.     Any information ICE agents obtained about Christopher as a result of the stop is

information that the agents would not have otherwise obtained without the initial detention on the

basis of Christopher’s race and ethnicity.

       42.     Local and federal agents must have probable cause before they effectuate the arrest

of an individual. See Terry v. Ohio, 392 U.S. 1, 38 (1968) (“The infringement on personal liberty

of any ‘seizure’ of a person can only be ‘reasonable’ under the Fourth Amendment if we require

the police to possess ‘probable cause’ before they seize him.”); Gonzalez v. United States

Immigration and Customs Enforcement, 975 F.3d 788, 819 (9th Cir. 2020) (applying Terry to

immigration arrests). . An agent must obtain a warrant unless they “have reason to believe the

person is likely to escape before a warrant can be obtained.” Id. Furthermore, the agent must state

that the person is under arrest and give the reason for the arrest. Id.

       43.     On information and belief, the Helena PD officers and ICE officers who detained

Christopher lacked an independent reasonable suspicion or probable cause that he was in the

country unlawfully, prior to his detention on the basis of his race and ethnicity.

                                      CLAIM FOR RELIEF

                                    COUNT ONE
       Violation of Fourth Amendment Right to Be Free From Unreasonable Seizures

       44.     Christopher re-alleges and incorporates herein the allegations contained in

paragraphs 1–43.




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        45.      Helena PD and ICE detained Christopher on the basis of his race and ethnicity. Any

subsequent information about his immigration status was obtained solely because of the unlawful

stop.

        46.      Christopher’s detention violates his Fourth Amendment right to be free from

unreasonable seizures. U.S. Const. amend. IV.

                                       PRAYER FOR RELIEF

        Wherefore, Petitioner Christopher Martinez Marvan respectfully requests this Court grant

the following:

        (1) Assume jurisdiction over this matter and direct Respondents not to transfer Petitioner

              out of this District during the pendency of these habeas proceedings, to preserve

              jurisdiction over this matter;

        (2) Order Respondents to show cause why this Petition should not be granted within three

              days;

        (3) Declare that Petitioner’s detention violates the Fourth Amendment;

        (4) Issue a Writ of Habeas Corpus ordering Respondents to immediately release

              Christopher Martinez Marvan;

        (5) Award Petitioner attorneys’ fees and costs under the Equal Access to Justice Act and on

              any other basis justified under law; and

        (6) Grant any further relief this Court deems just and proper.


 Dated: July 1, 2025                                 Respectfully Submitted,

                                                     /s/ Molly E. Danahy

                                                     Molly E. Danahy
                                                     Andres Haladay
                                                     Rylee Sommers-Flanagan



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